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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

BETH CHANEY MACNEILL                             §
     Plaintiff                                   §
                                                 §
v.                                               §
                                                 §          CIVIL ACTION NO. 4:14-CV-242-O
TEXAS HEALTH HARRIS METHODIST                    §
HOSPITAL FORT WORTH                              §
     Defendant                                   §


                               STIPULATION OF DISMISSAL


       NOW COME Plaintiff Beth Chaney MacNeill and Defendant Texas Health Harris

Methodist Hospital Fort Worth (hereinafter collectively, “The Parties”), and file this Stipulation

of Dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and respectfully show unto

the Court the following:

                                        STIPULATION

1.     Plaintiff is Beth Chaney MacNeill.

2.     On April 8, 2014, Plaintiff sued Defendant.

3.     Plaintiff moves to dismiss the suit.

4.     Defendant agrees to the dismissal.

5.      This case is not a class action under Federal Rule of Civil Procedure 23, a derivative
action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

6.     A receiver has not been appointed in this case.

7.      This case is not governed by any federal statute that requires a court order for dismissal
of the case.

8.     Plaintiff has not previously dismissed any federal or state court suit based on or including
the same claims as those presented in this case.


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9. This dismissal is with prejudice.

10. All parties shall bear their own costs.

       WHEREFORE, PREMISES CONSIDERED, THE PARTIES jointly file this Stipulation

of Dismissal.

                                              Respectfully submitted,


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                                                     ATTORNEYS FOR DEFENDANT TEXAS
                                                     HEALTH HARRIS METHODIST
                                                     HOSPITAL FORT WORTH


                                CERTIFICATE OF SERVICE

       I herebycertify that on July 10, 2015, I electronically filed the foregoing document with the

clerk for the U. S. District Court, Northern District of Texas, using the Electronic Case Filing

system of the Court. The Electronic Case Filing System sent a “Notice of Electronic Filing” to the

following attorneys of record who have consented in writing to this Notice as service of this

document by electronic means:

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                                                     Robert W. Hammer
                                                     Robert W. Hammer




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